Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 1 of 15 Pageid#:
                                   20847




                        Exhibit B
      Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 2 of 15 Pageid#:
12/10/2019                             Colucci,
                                         20848  Burt


                                                                                 Page 1
  1               UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF VIRGINIA
   2               Charlottesville Division
   3 ELIZABETH SINES, SETH WISPEL WEY,
  MARISSA BLAIR, TYLER MAGILL,
   4 APRIL MUNIZ, HANNAH PEARCE,
  MARCUS MARTIN, NATALIE ROMERO,
   5 CHELSEA ALVARADO, JOHN DOE,
  and JAMES BARKER,
   6                             Civil Action No.:
      Plaintiffs,             3:17-cv-00072-NKM
   7
  vs.
   8
  JASON KESSLER, et al.,
   9
      Defendants.
  10 ________________________________/
  11
  12            VIDEOTAPED DEPOSITION OF BURT COLUCCI
          Taken By Counsel for Plaintiffs
  13                  (Pages 1 - 278)
  14
             Tuesday, December 10, 2019
  15                9:34 a.m. - 4:33 p.m.
  16
           Hillsborough County Courthouse
  17               George E. Edgecomb Building
               800 East Twiggs Street
  18                   Courtroom 11
                  Tampa, Florida
  19
  20
  21
  22
  Stenographically Reported By:
  23 Jennifer Figueroa, RPR, CLR, FPR
  Notary Public, State of Florida at Large
  24 Magna Legal Services
  Phone - 866.624.6221
  25 Magna Job No. 535382
      Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 3 of 15 Pageid#:
12/10/2019                             Colucci,
                                         20849  Burt


                                                                                 Page 2
  1    APPEARANCES:
  2        JESSICA E. PHILLIPS (pro hac vice)
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     - AND -
   6
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  16
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  19        Cincinnati, Ohio 45240
     513.444.2150
  20        jek318@gmail.com
  21           On Behalf of Defendants Jason Kessler; Nathan
        Damigo; Identity Europa, Inc. (Identity
  22           Europa); Matthew Parrott; and Traditionalist
        Worker Party
  23
  24
  25           (Appearances continued on Page 3.)
      Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 4 of 15 Pageid#:
12/10/2019                             Colucci,
                                         20850  Burt


                                                                                 Page 3
  1   APPEARANCES (continued):
  2       DAVID L. CAMPBELL, ESQUIRE
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     dcampbell@dhdglaw.com
   6
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   7
   8
     WILLIAM EDWARD ReBROOK, IV, ESQUIRE
   9      (Via telephone)
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  10       6013 Clerkenwell Court
     Burke, Virginia 22015
  11       571.215.9006
     edward@rebrooklaw.com
  12
        On Behalf of Defendants Jeff Schoep, National
  13          Socialist Movement, and Nationalist Front
  14
  15
  16 ALSO PRESENT:
  17       NICK DeHAAS, VIDEOGRAPHER
  18
  19
  20
  21
  22
  23
  24
  25
      Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 5 of 15 Pageid#:
12/10/2019                             Colucci,
                                         20851  Burt


                                                                                 Page 4
  1                  INDEX
  2                                     PAGE
  3    Direct Examination by Ms. Phillips              8
  4    Errata Sheets                       274-276
  5    Certificate of Reporter                 277
  6    Certificate of Oath                   278
  7
                 EXHIBITS
   8
  NO.             DESCRIPTION                      PAGE
   9
  Exhibit 1    Order from United States Magistrate
  10              Joel Hoppe dated 10/28/19             10
  11 Exhibit 2       Second Amended Complaint filed
            9/17/19                         21
  12
  Exhibit 3    Screenshot of witness's VK
  13              account, 2 pp.                    46
  14 Exhibit 4       Screenshot of witness's VK
            account, 1 pp.                    95
  15
  Exhibit 5    NSM Magazine, Fall/Winter 2017           133
  16
  Exhibit 6    NSM Magazine, Spring/Summer 2018            143
  17
  Exhibit 7    Article entitled "US White
  18              Nationalists Barred by Facebook
            Find Haven on Russia Site"
  19              dated 4/10/19                    151
  20 Exhibit 8       Plaintiffs' [Corrected] First
            Set of Requests For Production
  21              of Documents to All Defendants         162
  22 Exhibit 9       Plaintiffs' First Set of
            Interrogatories to All
  23              Defendants                       171
  24          (Exhibits continued on Page 5.)
  25
      Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 6 of 15 Pageid#:
12/10/2019                             Colucci,
                                         20852  Burt


                                                                                 Page 5
  1                 EXHIBITS (continued)
  2   NO.               DESCRIPTION                 PAGE
  3   Exhibit 10 Defendant National Socialist
            Movement's Responses to
   4             Defendant's First Interrogatories
            and Request for Production of
   5             Documents dated 4/6/18              172
   6 Exhibit 11 Photograph                         186
   7 Exhibit 12 Photograph                         187
   8 Exhibit 13 Photograph                         190
   9 Exhibit 14 Plaintiffs' Second Set of
            Interrogatories to All
  10              Non-Defaulted Entity
            Defendants dated 10/29/19            197
  11
  Exhibit 15 Defendant National Socialist
  12              Movement (NSM) Responses to
            Plaintiffs' Second Set of
  13              Interrogatories to Non-Defaulted
            Entity Defendants               200
  14
  Exhibit 16 Email from NSM
  15              [chiefofstaff@nsm88.org] to
            themaddimension@gmail.com
  16              dated 7/10/18                 229
  17 Exhibit 17 Email from Burt
            [chiefofstaff@nsm88.org] to
  18              themaddimension@gmail.com
            dated 8/17/18                  230
  19
  Exhibit 18 Stipulation and Order for the
  20              Imaging, Preservation, and
            Production of Documents
  21              Filed 11/19/18                248
  22 Exhibit 19 Document Bates-stamped MH00007284              250
  23 Exhibit 20 Document Bates-stamped MH00007280              251
  24
  25
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 7 of 15 Pageid#:
12/10/2019                              Colucci,
                                          20853  Burt


                                                                                  Page 6
  1             Deposition taken before Jennifer Figueroa,
  2     Registered Professional Reporter and Notary Public in
  3     and for the State of Florida at Large, in the above
  4     cause.
  5                   *    *   *   *   *
  6             THE VIDEOGRAPHER: We're now on record.
  7             This begins Media Unit No. 1 to the videotaped
  8          deposition of Burt Colucci taken in the matter of
  9          Elizabeth Sines, et al., versus Jason Kessler,
  10         et al., filed in the United States District Court
  11         for the Western District of Virginia,
  12         Charlottesville Division. Today is Tuesday,
  13         December 10, 2019. The time is approximately
  14         9:34 a.m.
  15             This deposition is being held at the
  16         Hillsborough County courthouse in Tampa, Florida,
  17         at the request of Boies Schiller and Flexner, LLP.
  18         My name is Nick DeHaas, your videographer. Your
  19         court reporter today is Jennifer Figueroa. We're
  20         here with Magna Legal Services.
  21             Will counsel and those on the phone please
  22         introduce themselves for the record.
  23             MS. PHILLIPS: Yes. This is Jessica Phillips
  24         from Boies Schiller Flexner on behalf of the
  25         plaintiffs.
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 8 of 15 Pageid#:
12/10/2019                              Colucci,
                                          20854  Burt


                                                                                  Page 7
  1             MR. BARKAI: This is Yotam Barkai from Boies
  2          Schiller Flexner on behalf of the plaintiffs.
  3          MR. BLOCH: Michael Bloch from Kaplan Hecker & Fink
  4          on behalf of plaintiffs.
  5             THE VIDEOGRAPHER: Folks on the phone,
  6          please --
  7             MR. ReBROOK: This is Edward ReBrook.
  8             THE VIDEOGRAPHER: -- state your appearances.
  9             THE COURT REPORTER: Please repeat.
  10             MR. ReBROOK: This is Edward ReBrook. I am
  11         here representing the NSM.
  12             MR. KOLENICH: This is Jimmy Kolenich
  13         representing Jason Kessler, Nathan Damigo, Matthew
  14         Parrott, Traditionalist Worker Party, and Identity
  15         Europa.
  16             MR. CAMPBELL: And this is Dave Campbell
  17         representing James Fields.
  18             THE COURT REPORTER: Could you please raise
  19         your right hand for me.
  20             Do you swear or affirm that the testimony
  21         you're about to give will be the truth, the whole
  22         truth, and nothing but the truth?
  23             THE WITNESS: Yes.
  24             THE COURT REPORTER: Thank you.
  25    THEREUPON,
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 9 of 15 Pageid#:
12/10/2019                              Colucci,
                                          20855  Burt


                                                                                  Page 8
  1                      BURT COLUCCI,
  2     having been first duly sworn or affirmed, was examined
  3     and testified as follows:
  4                   DIRECT EXAMINATION
  5     BY MS. PHILLIPS:
  6          Q. Great. Mr. Colucci, as I just said I'm
  7     Jessica Phillips. I represent the plaintiffs in the
  8     case Sines versus Kessler.
  9             Can you please state your full name for the
  10    record?
  11         A. It's Burt Colucci.
  12         Q. Can you spell that, please?
  13         A. First name is B-u-r-t, last name is
  14    C-o-l-u-c-c-i.
  15         Q. And are you represented by counsel here
  16    today?
  17         A. Yes.
  18         Q. And who is that?
  19         A. Edward ReBrook.
  20         Q. Okay. Have you ever gone by any other names
  21    other than Burt Colucci?
  22         A. No.
  23         Q. Okay. Do you have any -- any nicknames that
  24    you go by?
  25         A. Years ago I used to have -- there was a -- I
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 10 of 15 Pageid#:
12/10/2019                              Colucci,
                                           20856 Burt


                                                                                 Page 25
  1          Q. Did Mr. Kolenich ever ask --
  2             MR. REBROOK: Objection; asked and answered.
  3             MS. PHILLIPS: I'm sorry? Somebody made an
  4          objection on the phone?
  5             MR. ReBROOK: This is Edward ReBrook. I'm
  6          objecting; asked and answered.
  7             MS. PHILLIPS: Oh, okay.
  8             MR. ReBROOK: If Mr. Kolenich never spoke with
  9          Mr. Colucci about Sines v. Kessler, and that would
  10         apply to him talking about documents regarding
  11         Sines v. Kessler or anything else regarding Sines
  12         v. Kessler. Asked and answered.
  13            MS. PHILLIPS: Thank you.
  14     BY MS. PHILLIPS:
  15         Q. Did Mr. Kolenich ever ask you to produce any
  16     documents in connection with this litigation?
  17         A. No, never.
  18         Q. Do you know Jeffrey Schoep?
  19         A. Yes.
  20         Q. Did you and Mr. Schoep ever speak about this
  21     litigation?
  22         A. Yes, extensively.
  23         Q. Extensively. Okay.
  24            When did you speak with him about this
  25     litigation?
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 11 of 15 Pageid#:
12/10/2019                              Colucci,
                                           20857 Burt


                                                                                 Page 26
  1          A. Ever since I became reactive in the NSM post
  2     Charlottesville. I would say, again, that would be the
  3     date of the Shelbyville Tennessee, rally. That was the
  4     date of my reenactment, reenlistment, whatever you want
  5     to call it.
  6          Q. What exactly did you speak with Mr. Schoep
  7     about with regard to this litigation?
  8          A. He and I have discussed everything pretty
  9     much.
  10         Q. Okay.
  11         A. It's too lengthy to mention everything, but
  12     we've spoken at length about this.
  13         Q. Well, let's get into the specifics of what you
  14     spoke with him about.
  15             Did you speak with him about NSM's
  16     participation in Charlottesville?
  17         A. Oh, yes.
  18         Q. Okay. And what exactly was the substance of
  19     what you guys discussed?
  20         A. It seemed to be he was going on about the same
  21     thing over and over again, basically how the NSM didn't
  22     do anything illegal and that this case is pretty well
  23     pointless and that it's a frivolous lawsuit. And I'm
  24     sure there's a lot more. We can get into it a lot more
  25     if you'd like.
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 12 of 15 Pageid#:
12/10/2019                              Colucci,
                                           20858 Burt


                                                                                 Page 27
  1          Q. (Moves head up and down.)
  2          A. But it's pretty extensive.
  3          Q. How frequently would you say that you spoke
  4     with Mr. Schoep about this litigation?
  5          A. A lot. A lot.
  6          Q. Would you say on a daily basis?
  7          A. That might be a bit much, but I wouldn't say
  8     it's -- it's a far stretch, because it was very
  9     extensive.
  10         Q. Okay. So weekly, as it happened?
  11         A. At a minimum. I'd say more than that.
  12         Q. And what was your method of communicating with
  13     him?
  14         A. Telephone.
  15         Q. It was telephone?
  16         A. Yeah.
  17         Q. So these were primarily phone calls?
  18         A. Correct.
  19         Q. Did you text message with him about this
  20     litigation?
  21         A. From time to time, but most of it was on the
  22     phone.
  23         Q. What about email? Did you email with him
  24     about the litigation?
  25         A. Very rarely. I would say probably 90 percent
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 13 of 15 Pageid#:
12/10/2019                              Colucci,
                                           20859 Burt


                                                                                 Page 28
  1     or more of the conversation was on the phone.
  2          Q. Okay. Did you -- in terms of messaging,
  3     direct messaging over social media platforms of any
  4     kind, did you ever --
  5          A. Not in reference to the case, no.
  6          Q. Okay. You did speak with Mr. Schoep over
  7     direct messaging over social media, but not necessarily
  8     with regard to the case?
  9          A. It was very minimum at best on social media
  10     because he's -- he never trusted social media, even the
  11     one that we used.
  12         Q. Okay.
  13         A. So it would have either been done via text,
  14     which would have been also a bare minimum; or it would
  15     have been done on the phone, as I said, about 90 percent
  16     or more of the time on the phone.
  17         Q. Do you recall the phone number at which you
  18     reached Mr. Schoep or at which he reached you -- his
  19     telephone number for those communications?
  20         A. I would have it, I don't have it memorized.
  21         Q. Do you have it with you on your phone?
  22         A. I probably do.
  23         Q. Okay. I'll ask you to look that up at a
  24     break, and then --
  25         A. Okay.
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 14 of 15 Pageid#:
12/10/2019                              Colucci,
                                           20860 Burt


                                                                                 Page 29
  1          Q. -- when we come back on the record, you can
  2     give that to us on the record.
  3             So I believe you testified that it was
  4     starting at about the Shelbyville rally in you think
  5     November of 2017 when you began talking with Mr. Schoep
  6     about this litigation.
  7             When was the last time, if you recall, that
  8     you spoke with Mr. Schoep about this litigation?
  9          A. It's been a while. It's been less and less
  10     frequent. Some -- whenever the -- whenever he went to
  11     the other side and started speaking about anti-racist
  12     stuff it became -- it was less frequent at that point,
  13     and to this day -- and at this point, I'd say
  14     nonexistent.
  15         Q. So let me see if I can pinpoint in time when
  16     you think you last communicated with him. Well, let me
  17     ask it more broadly. When was the last time you had any
  18     communication whatsoever with Mr. Schoep? Was it this
  19     month?
  20         A. I'd say probably a month ago, just off the top
  21     of my head. I don't exactly remember.
  22         Q. And was that communication about this
  23     litigation?
  24         A. I -- I don't think so.
  25         Q. Okay. When was the last time that you had
       Case 3:17-cv-00072-NKM-JCH Document 1242-2 Filed 10/17/21 Page 15 of 15 Pageid#:
12/10/2019                              Colucci,
                                           20861 Burt


                                                                                 Page 30
  1     communication with Mr. Schoep about this litigation?
  2          A. It's been a while. I'm just going to -- all I
  3     can do is guess because I honestly don't know the
  4     answer. I'll say maybe a couple of months.
  5          Q. Okay. And what did you speak with him about a
  6     couple of months ago as it related to the litigation?
  7          A. Well, when I speak to Jeff it's pretty well
  8     the same thing over and over again, as I explained
  9     prior, about how he says that, you know -- and pretty
  10     much all the members keep saying the same thing over
  11     again, how the NSM did nothing illegal and that none of
  12     them understand why we're being sued in a frivolous
  13     lawsuit; and I hear that over and over and over again.
  14         Q. And who -- so we were speaking about
  15     Mr. Schoep and then you just mentioned speaking to other
  16     NSM members. Correct?
  17         A. Correct.
  18         Q. So who are those other members that you've
  19     spoken with the litigation about?
  20         A. I didn't speak with them about litigation,
  21     they're just people that made a comment referencing the
  22     lawsuit.
  23         Q. Yeah, I understand. But they made those
  24     comments to you?
  25         A. Yes.
